  Case 2:18-cv-00109-JPB Document 19 Filed 02/08/19 Page 1 of 5 PageID #: 64



                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 ELKINS DIVISION

TRIPLE R RANCH, LLC and                              §
ERIC HEDRICK,                                        §
                                                     §
               Plaintiffs,                           §
                                                     §      CA No. 2:18-cv-109 (Bailey)
vs.                                                  §
                                                     §
PILGRIM’S PRIDE CORPORATION,                         §
                                                     §
               Defendant.                            §
                             DEFENDANT’S MOTION TO DISMISS

       Defendant Pilgrim’s Pride Corporation (“Pilgrim’s”) moves this Court, pursuant to

Federal Rules of Civil Procedure 12(b)(6) and 9(b), for an order dismissing Plaintiffs Triple R

Ranch, LLC’s and Eric Hedrick’s Complaint (ECF 1).             In support of Pilgrim’s Motion to

Dismiss, Pilgrim’s states the following:

       1.      Plaintiffs Triple R Ranch, LLC (“Triple R”) and Eric Hedrick (collectively,

“Plaintiffs”) allege six causes of action against Pilgrim’s: (1) breach of contract; (2) violation of

the duty of good faith and fair dealing; (3) negligent misrepresentation; (4) fraud; (5) violation of

the Agricultural Fair Practices Act (“AFPA”); and (6) violation of 7 U.S.C. § 192(a) and (b) of

the Packers and Stockyards Act, 1921 (“PSA”).

       2.      Each of Plaintiff Hedrick’s claims are barred because he lacks standing to bring a

private right of action against Pilgrim’s because Pilgrim’s contracted with Plaintiff Triple R, as

opposed to Plaintiff Hedrick, and the complained of acts relate to Plaintiff Triple R’s broiler

raising operation. Thus, the purported resulting damages were allegedly incurred by Plaintiff

Triple R alone.




                                                 1
    Case 2:18-cv-00109-JPB Document 19 Filed 02/08/19 Page 2 of 5 PageID #: 65



        3.      Even if Plaintiff Hedrick had standing to sue Pilgrim’s on the claims asserted,

which he does not, Plaintiffs’ breach of contract action alleging Pilgrim’s “unlawfully terminated

the poultry growing arrangement” is precluded because the contemporaneous correspondence

between the parties shows Plaintiffs, not Pilgrim’s, terminated the contract, known as a Broiler

Production Agreement (“BPA”), on October 3, 2016, and instructed Pilgrim’s not to deliver

more chicks to Triple R.

        4.      The good faith and fair dealing claim fails because it is not a stand-alone claim

and cannot be predicated on Plaintiffs’ purported breach of contract claim because that claim

fails as a matter of law.

        5.      The AFPA, negligent misrepresentation, and fraud claims fail because they are

barred by the applicable two-year statute of limitations.

        6.      To the extent Pilgrim’s made negligent or intentionally false representations

within the limitations period, Plaintiffs’ claims are still barred for, among other things, failure to

plead them with particularity and for lack of justifiable reliance.

        7.      The PSA claims are precluded because Plaintiffs fail to show Pilgrim’s unilateral

conduct harmed competition. 1

        8.      The PSA claims are barred by the applicable four-year statute of limitations.

        9.      The PSA claims are barred by a release in the BPA.

        10.     Plaintiffs’ allegations do not give rise to a violation of the PSA.

        11.     Plaintiffs cannot recover their attorney fees under the PSA.




1
  To the extent the Court maintains that Plaintiffs are not required to plead harm to competition under
PSA § 192(a) and (b), Pilgrim’s requests the Court to make certain findings so that Pilgrim’s may file a
petition for interlocutory review with the United States Fourth Circuit Court of Appeals under 28 U.S.C.
§ 1292(b).


                                                   2
  Case 2:18-cv-00109-JPB Document 19 Filed 02/08/19 Page 3 of 5 PageID #: 66



       12.     In support of this Motion to Dismiss, Pilgrim’s incorporates its Memorandum of

Law in Support filed contemporaneously hereto.

       13.     In further support of this Motion to Dismiss, Pilgrim’s incorporates Exhibits “A,”

“B,” “C,” and “D” attached hereto. The Court may rely on this extrinsic evidence because the

documents are central to Plaintiffs’ claims and referred to in the Complaint. These documents

prevail over Plaintiffs’ conflicting conclusory allegations.

       WHEREFORE, Pilgrim’s requests Plaintiffs’ Complaint be dismissed with prejudice, that

Pilgrim’s be awarded its costs and expenses in the defense of this matter, and such other and

further relief that Pilgrim’s may be entitled at law and/or equity.

       Dated: February 8, 2019.

       For all the reasons discussed herein, Pilgrim’s requests each and every cause of action

alleged in Plaintiffs’ Complaint be dismissed with prejudice.

                                                      Respectfully submitted,

                                                      /s/ Peter G. Zurbuch
                                                      Peter G. Zurbuch
                                                      WV State Bar # 5765
                                                      BUSCH, ZURBUCH & THOMPSON, PLLC
                                                      P.O. Box 1819
                                                      Elkins, WV 26241
                                                      Tel: (304) 636-3560
                                                      Fax: (304) 636-2290
                                                      Email: pzurbuch@bztlaw.com

                                                      —And—




                                                  3
Case 2:18-cv-00109-JPB Document 19 Filed 02/08/19 Page 4 of 5 PageID #: 67



                                        Clayton E. Bailey
                                        (Admitted Pro Hac Vice)
                                        Benjamin L. Stewart
                                        (Admitted Pro Hac Vice)
                                        BAILEY BRAUER PLLC
                                        Campbell Centre I
                                        8350 N. Central Expressway, Suite 206
                                        Dallas, Texas 75206
                                        Tel: (214) 360-7433
                                        Fax: (214) 360-7435
                                        Email: cbailey@baileybrauer.com
                                                bstewart@baileybrauer.com

                                        ATTORNEYS FOR DEFENDANT
                                        PILGRIM’S PRIDE CORPORATION




                                    4
 Case 2:18-cv-00109-JPB Document 19 Filed 02/08/19 Page 5 of 5 PageID #: 68



                              CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with LR Gen P 5.06(b) on February 8, 2019. As such, this document was served on
all counsel of record who are deemed to have consented to electronic service as follows:

         Jack A. Kolar, Esq.                       J. Dudley Butler, Esq.
         Karen J. Gray, Esq.                       Butler Farm & Ranch Law Group, PLLC
         Amanda Hitt, Esq.                         499-A Breakwater Drive
         Government Accountability Project, Inc.   Benton, MS 39039
         1612 K Street, NW
         Suite 1100
         Washington, D.C. 20006

         Keith Lively, Esq.
         Doyle, Barlow & Mazard PLLC
         1010 Temple Street
         Hinton, WV 25951

                                       /s/ Peter G. Zurbuch




                                             5
